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                                                                                                      United States District Court
                                                                                                        Southern District of Texas

                                                                                                           ENTERED
                                                                                                           April 09, 2020
                                 UNITED STATES DISTRICT COURT
                                                                                                        David J. Bradley, Clerk
                                  SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

UNITED STATES OF AMERICA,                                  §
                                                           §
VS.                                                        § CIVIL ACTION NO. 7:20-CV-26
                                                           §
1.8946 ACRES OF LAND, MORE OR                              §
LESS, et al,                                               §
                                                           §
           Defendants.                                     §

                                                     ORDER

         The Court now considers the parties’ joint discovery/case management plan1 and joint

motion for telephonic appearance.2 In the joint discovery/case management plan, the parties

inform the Court that Defendant Mauro R. Garcia, (hereafter, “Mr. Garcia”) who is represented

by counsel, conferred with the United States of America (“United States”) and participated in the

drafting of the joint discovery/case management plan in preparation for the April 14, 2020 initial

pretrial and scheduling conference.3

         The United States and Mr. Garcia (hereafter, “the parties”) also inform the Court that Mr.

Garcia and Defendant Olga Yolanda Garcia possess an equal undivided interest in the land at

issue, but do not clarify whether Olga Yolanda Garcia is represented by counsel, whether she

conferred with the United States, or whether she participated in the drafting of the joint

discovery/case management plan.4 In all future pleadings, the parties should provide this

information to the Court and explain the relationship between Mr. Garcia and Olga Yolanda




1
  Dkt. No. 10.
2
  Dkt. No. 12.
3
  Dkt. No. 10 at 1, ¶ 1.
4
  Id. at 7, ¶ 15. Marco R. Garcia and Olga Yolanda Garcia are the only interested parties involved in the case.

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Garcia. The Court now turns to the substance of the parties’ joint discovery/case management

plan.

          The United States argues in the joint discovery/case management plan that discovery is

not necessary in this case.5 In contrast, Mr. Garcia maintains that limited discovery is necessary

to address the issue of just compensation, and anticipates sending interrogatories to and taking

depositions of United States officials involved in the Border Wall Program.6 The parties do not

inform the Court of Olga Yolanda Garcia’s position on whether discovery is necessary in this

case.7

          Based on the record and the Court’s familiarity with similar land condemnation cases, the

Court finds that discovery is unnecessary at this time. To the extent Mr. Garcia seeks to depose

government officials in order to argue that the United States’ nominal just compensation estimate

is inadequate, the Court has routinely agreed with this assertion and finds no need to allow

discovery on the matter. Should Mr. Garcia wish to argue that a specific form of discovery is

necessary in this case, this request should come in the form of a motion to the Court.

          In light of the information provided in the joint discovery/case management plan,8 the

Court hereby sets the following deadlines:



5
  Id. at 6, ¶ 10.
6
  Id. at 4, ¶ 10(C); 6, ¶ 10(E). Defendant Mauro R. Garcia seeks to depose Loren Flossman, Acquisition Program
Manager for the property in this case, and “anticipates sending interrogatories to Jason Powell, Director, Planning
and Project Execution Division, Border Wall Program Management Office, Program Management Office
Directorate, United States Border Patrol, as well as other members of the Program Management Office Directorate
Wall Team, who collectively are responsible for implementing the border wall program and for determining the
United States’ alleged amount of just compensation.”
7
  The parties alternate between referring to Mr. Garcia’s arguments pertaining to discovery and suggesting that both
Defendants agree on what discovery is necessary. For example, the joint discovery/case management plan provides:
“Defendant Mauro R. Garcia anticipates sending interrogatories to Jason Powell. . .” Dkt. No. 10 at 4, ¶ 10(C). Yet,
in the same paragraph the parties state that “Defendants anticipate sending interrogatories to the United States
regarding their alleged estimate of just compensation at $100.00. . .” As a result, the Court is unable to discern Olga
Yolanda Garcia’s position on these issues. The confusion is perpetuated by the pending motion for leave to file an
original answer, which is filed on behalf of Defendant Mauro R. Garcia individually. Dkt. No. 11.
8
  Dkt. No. 10.

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                 EVENTS                                         DEADLINES

Deadline to file all documentation adding,                      May 29, 2020
substituting, disclaiming or dismissing
interested parties.
Note: If necessary, the United States may
also    file   amended       condemnation
documents or an amended Schedule GG.

Deadline to file briefs on the issue of just                    June 12, 2020
compensation and notify the Court as to
whether the parties (1) consent to the Court
deciding the issue of just compensation on
the briefings; or (2) request an evidentiary
hearing on the issue of just compensation.
Deadline to file a joint status report                           July 3, 2020
detailing the case’s status and intended
future action. Alternatively, deadline to file
any documentation          establishing     or
stipulating to just compensation and/or
dismissal documentation.



Status conference.                                        July 14, 2020 at 9:00 a.m.




       This Order is binding on all parties and may be modified only for good cause and by

leave of the Court. All other deadlines, which are not specifically set out in this Order, will be

governed by the Federal Rules of Civil Procedure.




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          In light of this Order, there is no need for an initial pretrial and scheduling conference.

Thus, the Court CANCELS the parties’ April 14, 2020 initial pretrial and scheduling

conference.9 The Court also DENIES AS MOOT the joint motion for telephonic appearance.10

          IT IS SO ORDERED.

          DONE at McAllen, Texas, this 9th day of April, 2020.


                                                   ___________________________________
                                                   Micaela Alvarez
                                                   United States District Judge




9
    Dkt. No. 5.
10
    Dkt. No. 12.

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